
JACOBUS, J.
The appellant, Patrick Washington, appeals the order summarily denying his rule 3.800(a) motion to correct illegal sentence. We reverse.
Washington was originally sentenced in three separate cases on the same day in Osceola County. His sentences included terms of incarceration in each case followed by twenty years’ probation in one case, Case Number 1992-CF-1474. After serving out his terms of incarceration, Washington was released on probation. He subsequently violated his probation and, in March 2011, was resentenced to 10 years in the Department of Corrections (DOC) with 3 years and 169 days credit for time served.
While the court gave Washington credit for time served, it did not indicate whether this credit included prison credit and it failed to check the box instructing DOC to compute and apply credit for time served. Further, it is unclear whether the award is correct. We, therefore, reverse and remand the case to the trial court so it can clarify the credit awarded to ensure that it only includes jail credit and check the box on Washington’s sentencing document stating “DOC shall apply original sentence jail time credit and shall compute and apply credit for time served.” See Johnson v. State, 881 So.2d 88 (Fla. 5th DCA 2004); see also Scott v. State, 872 So.2d 1011 (Fla. 5th DCA 2004).
REVERSED and REMANDED with directions.
PALMER and MONACO, JJ., concur.
